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               EXHIBIT 17
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                 Create and manage speaker groups
                 Group any combination of Google Nest or Google Home speakers and displays,
                 Chromecast devices, and speakers with Chromecast built-in together for synchronous
                 music throughout the home. Your favorite music and audio from Chromecast-enabled
                 apps are instantly available to stream.

                 Compatible devices include speakers and displays (Google Home, Google Nest Mini (2nd
                 gen), Google Home Mini (1st gen), Google Home Max, and Google Nest displays),
                 Chromecast, Chromecast Ultra, Chromecast Audio, TVs with Chromecast built-in and
                 speakers with Chromecast built-in.

                 Note: This feature is not supported on Chromecast (1st generation).



                 Step 1. Create and manage speaker groups

                    Create an audio group                                                                  A


                       1. Make sure all audio devices and your mobile or tablet are connected to the
                          same Wi-Fi network.
                       2. Open the Google Home app                 .
                       3. At the top left, tap Add           + ) Create speaker group.
                       4. Tap each device you want to add to the group. A check ✓ will appear next to
                          each device you select.
                       5. Tap Next ) Enter a name for your group ) Save.



                    Edit an existing group                                                                 A


                       1. Make sure all audio devices and your mobile or tablet are connected to the
                          same Wi-Fi network.
                       2. Open the Google Home app                 .
                       3. Tap your speaker group ) Settings 0)                Choose devices.
                       4. Tap each device you want to add to the group. A check ✓ will appear next to
                          each device you select.
                       5. Tap each device you want to remove from the group. The check ✓ will

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                           disappear.
                       6. Tap Next.

                       Important: If you're making edits to a group that is currently casting music, group
                       playback will stop and you'll no longer hear media on any audio device within the
                       group. You'll need to return to the Cast-enabled app or say a voice command to
                       start casting media again.



                    Delete an existing group

                       1. Make sure all audio devices and your mobile or tablet are connected to the
                          same Wi-Fi network.
                       2. Open the Google Home app               .
                       3. Tap your speaker group ) Settings 0)            Delete Group ) Remove.

                       Important: If you're deleting a group that is currently casting music, group
                       playback will stop and you'll no longer hear media on any audio device in the
                       group.




                 Step 2. Control speaker groups
                 Note: Changing the volume of an individual speaker in a group will change the group's
                 volume.


                    Using your voice                                                                      A


                        Playing audio groups is like playing audio on individual remote devices
                        except you’ll say “Ok Google, … on <group name>" instead of “Ok Google,… on
                        <device name>".

                        Note: Make sure to voice-enable the group to control it with your voice.

                          To do this...                                                   Say "Ok
                                                                                          Google" or
                                                                                          “Hey Google,"
                                                                                          then...

                          Play music using group name                                     “Play rock on
                                                                                          <group
                                                                                          name>”
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                                                                                           name>”

                          Control music using basic commands l2l                           “Pause,
                                                                                           resume, stop,
                                                                                           play next
                                                                                           song”

                          Control volume l2l                                               "Set volume to
                                                                                           5," "Set
                          Note: During group playback, volume commands only                volume to
                          change the local Google Home device unless you say "Ok           40%"
                          Google, ... on <Group name>."




                    From the Google Home app                                                                   A


                        1. Make sure your mobile device or tablet is connected to the same Wi-Fi as
                           your speaker or display.
                        2. Open the Google Home app              .
                        3. Tap your speaker group.

                        You'll see the following information for the current music session:

                        • Content provider
                        • Title (song name / show episode name / radio station program)
                        • Artist (if available)
                        • Collection (playlist / album / show series / radio station) (if available)
                        You can also pause/resume, stop, and control group members volume.




                    From the Google Nest or Google Home device



                                 Google Home


                            To do         Touch Google Home like this:                                 Image
                            this:

                            Play,         Tap once on the top of the device.
                                                                                                        '-a
                            pause,
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                            pause,




                                                                                                  '
                            or stop
                            alarm or
                            timer

                           B
                            Turn up       Swipe clockwise on the top of the device.




                                                                                                     ~
                            the
                            volume        Note: This only adjusts the volume of media. You can
                                          adjust alarms and timers volume anytime in the Google
                           9


                                          Home app.


                            Turn          Swipe counterclockwise on the top of the device.




                                                                                                     ~
                            down
                            the           Note: This only adjusts the volume of media and your
                            volume        Google Assistant. At volume level 0, all media will be
                                          muted but your Google Assistant will still speak at a
                           9




                                          minimum level. It doesn’t adjust the volume of alarms
                                          and timers.


                            Start         Press and hold down on the top of the device.




                                                                                                      ,, l' ']
                            your
                            request
                      =




                            Mic           Press the microphone mute button on the back of the
                            on/off        device.

                                          Note: Muting the microphone prevents Google Home
                                          from listening or responding. To interact with Google
                                          Home, the microphone must be on.


                            Factory       Press and hold the factory reset button located on the
                                                                                                       l' "]

                            reset         back of Google Home.
                            the
                            device
                                                                                                    •




                            Turn off      Unplug power cable from Google Home.
                                                                                                               -




                            power
                                                                                                        )--1




                                 Google Nest Mini (2nd gen)
                                                                                                         <




                           Note: The Google Nest Mini (2nd gen) has a wall mount screw slot on the
                           back. If your device doesn’t have a wall mount screw slot, it is a Google
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                           back. If your device doesn’t have a wall mount screw slot, it is a Google
                           Home Mini (1st gen).

                            To do           Touch Google Nest Mini like this:                Image
                            this:

                            Play,           Tap the center of the Nest Mini.
                            pause, or
                            stop
                            media or
                            end a
                                                                                                 (!)
                            current
                            phone
                            call


                            Stop a          Tap the center of the Nest Mini.
                            ringing
                            alarm or
                            timer                                                                (!)
                            Turn up         Tap the right side of the Nest Mini.
                            the
                            volume          10 total taps will be maximum volume.

                                            Note: This only adjusts the volume of media
                                            and your Google Assistant. At volume level 0,
                                            all media will be muted but your Google
                                            Assistant will still speak at a minimum level.
                                            It doesn’t adjust the volume of alarms and
                                            timers.

                                            To reverse controls, open the Home app
                                             ) tap your device ) Settings 0)
                                            Reverse device controls.​


                            Turn            Tap on the left side of the Nest Mini.
                            down the
                            volume          10 total taps will mute all audio except your
                                            Google Assistant.

                                            Note: This only adjusts the volume of media
                                            and your Google Assistant. At volume level 0,
                                            all media will be muted but your Google
                                            Assistant will still speak at a minimum level.
                                            It doesn’t adjust the volume of alarms and
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                                            It doesn’t adjust the volume of alarms and
                                            timers.

                                            To reverse controls, open the Home app
                                             ) tap your device ) Settings 0)
                                            Reverse device controls.​


                            Turn mic        Toggle the mic on/off switch found next to
                            on/off          the power cord. The switch will display
                                            orange when the microphone is turned off.

                                            Note: Turning off the microphone prevents
                                            Nest Mini from listening or responding. To
                                            interact by voice with Nest Mini, the
                                            microphone must be on.


                            Factory         Turn the mic off, then press and hold the
                            reset the       lights in the center of the Nest Mini.
                            device
                                            Hold for about 15 seconds.


                            Turn off        Unplug the power cable from Nest Mini.
                            power


                                                                                                0
                            Start your Note: You can't press and hold the top of the
                            request    Nest Mini to start a request with your
                                       Assistant.

                                            Instead, say "Ok Google" to start your request.




                                 Google Home Mini (1st gen)


                            To do this:       Touch Google Home Mini like this:                  Image

                            Play,      Press and hold either side of Home Mini.
                            pause, or
                            stop media
                            or end a
                            current
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                            current
                            phone call


                            Stop a            Press and hold either side of Home Mini.
                            ringing
                            alarm or
                            timer

                            Turn up the Tap on right side of Home Mini.
                            volume
                                        To reach maximum volume, tap to volume level 10.

                                              Note: This only adjusts the volume of media and
                                                                                                       6
                                              your Google Assistant. At volume level 0, all media
                                              will be muted but your Google Assistant will still
                                              speak at a minimum level. It doesn’t adjust the
                                              volume of alarms and timers.




                                                                                                       0
                            Turn down         Press and hold left side of Home Mini.
                            the
                            volume            10 total taps will mute all audio except your Google
                                              Assistant.

                                              Note: This only adjusts the volume of media and
                                              your Google Assistant. At volume level 0, all media
                                              will be muted but your Google Assistant will still
                                              speak at a minimum level. It doesn’t adjust the
                                              volume of alarms and timers.


                            Turn mic
                            on/off
                                              Toggle the mic on/off switch found next to the
                                              power cord. The switch will display orange when
                                              the microphone is turned off.

                                              Note: Turning off the microphone prevents Home
                                                                                                      0
                                              Mini from listening or responding. To interact with
                                              Home Mini, the microphone must be on.




                                                                                                      ~
                            Factory           Press and hold the factory reset button located
                            reset the         below the power cord on the bottom of Home Mini.
                            device            Look for a circle etched into the base.

                                              Hold for about 12 seconds.


                            Turn off          Unplug the power cable from Home Mini.
                            power                                                                        •
                                                                                                       /.en\
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                            power



                            Start your        Note: You can't press and hold the top of Home
                            request           Mini to start a request with your Assistant.

                                              Instead, say "Ok Google" to start your request.


                                   Google Home Max

                            To do        Touch Google Home Max like this:                       Image
                            this:

                            Play,        Horizontal placement: Tap the line located on the
                            pause,       top of Max.
                            or stop
                                         Vertical placement: Tap the line located on the
                            media.
                                         right side of Max.
                            Stop a
                            ringing
                            alarm
                            or
                            timer

                            End a
                            call


                            Turn up Horizontal placement: Swipe from left to right
                            the     along the line located on the top of Max.
                            volume
                                    Vertical placement: Swipe up along the
                                    line located on the right side of Max.




                            Turn         Horizontal placement: Swipe from right to left
                            down         along the line located on the top of Max.
                            the
                            volume       Vertical placement: Swipe down along the line
                                         located on the right side of Max.




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                                                                                                           1,
                            Turn




                                                                                               D
                                         Toggle the mic on/off switch located on the back
                            mic          of Max. The switch will display orange when the
                            on/off       microphone is turned off. You can’t use your voice
                                         or the Google Home app to turn on/off the mic.

                                         Note: Turning off the microphone:

                                         • prevents Google Home from listening or
                                            responding. To interact with Google Home, the
                                            microphone must be on.
                                         • turns off Room EQ.

                            Factory Press and hold the factory reset button located




                                                                                                   Q
                            reset   above the power cord on the back of Max. Look for
                            the     a small grey button.
                            device
                                    Hold for about 12 seconds.


                            Turn         Unplug the power cable from Max.
                            off
                            power


                                   Google Nest Hub
                        ~




                                                                                                          <
                            To do this:      Touch Google Nest Hub like this:    Image

                            Turn up the Press the upper volume button on
                            volume      the back of Google Nest Hub.
                                                                                              C
                                                                                   ~



                                                                                                      r
                                                                                   J



                                                                                                       1




                            Turn down Press the lower volume button on
                            the volume the back of Google Nest Hub.
                                                                                               '


                                                                                                      r
                                                                                   ~ J




                                                                                                       1




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                                   Google Nest Hub Max


                            To do this:       Touch Nest Hub Max like this:         Image

                            Turn up the Press the upper volume button
                            volume      on the back of Nest Hub Max.




                            Turn down         Press the lower volume button
                            the volume        on the back of Nest Hub Max.




                                 Google Nest WiR point



                            To do           Touch Nest WiR point like this:                 Image
                            this:


                            Play,           Tap the center of the Nest Wij point.
                            pause, or
                            stop
                            media or
                            end a
                            current
                            phone
                            call


                            Stop a          Tap the center of the Nest Wij point.                   ,L

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                            ringing
                            alarm or
                            timer
                                                                                                @
                            Turn up         Tap on the right side of the Nest Wij point.



                                                                                                G
                            the
                                            10 total taps will be maximum volume.
                            volume
                                                                                                    .
                                            Note: This only adjusts the volume of media
                                            and your Google Assistant. At volume level 0,
                                            all media will be muted but your Google
                                            Assistant will still speak at a minimum level.
                                            It doesn’t adjust the volume of alarms and
                                            timers


                            Turn            Tap on the left side of the Nest Wij point.
                            down the
                            volume
                                            10 total taps will mute all audio except your
                                            Google Assistant.

                                            Note: This only adjusts the volume of media
                                                                                                QJ  .



                                            and your Google Assistant. At volume level 0,
                                            all media will be muted but your Google
                                            Assistant will still speak at a minimum level.
                                            It doesn’t adjust the volume of alarms and
                                            timers.


                            Turn mic        Toggle the mic on/off switch found next to



                                                                                                0
                            on/off          the power cord. The switch will display
                                            orange when the microphone is turned off.

                                            Note: Turning off the microphone prevents
                                            Nest Wij point from listening or responding.
                                            To interact by voice with your Nest Wij point,
                                            the microphone must be on.


                            Turn off        Unplug the power cable from Nest Wij point.
                            power




                            Start your Note: You can't press and hold the top of a
                            request    Nest Wij point to start a request with your
                                                                                                •
                            -          Assistant.
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                                            Assistant.

                                            Instead, say "Ok Google" to start your request.




                 Audio delay issues
                 Do you hear a delay between one device in the group and the others? Use the group delay
                 correction setting for that device to resolve the issue.

                 Important: Pressing your phone or tablet’s volume buttons (on the side of your phone or
                 tablet) while in the Google Home app will not adjust the volume.



                    A Note:  Speaker group creation is only available on a phone or tablet. This feature
                      is not supported from the Chrome browser. However, you can still cast to a group
                             IZl from Chrome.




                 Was this helpful?                     Yes            No




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